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                                  UNITED STATES DISTRICT COURT
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                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                       SAN FRANCISCO DIVISION
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13    UNITED STATES OF AMERICA                           )   NO: 0971 3:20 - CR 00452- 004 WHO
                                                         )
14                        Plaintiff,                     )   DEFENDANT SOTO’S
                                                         )   SENTENCING MEMORANDUM
15        V.                                             )
                                                         )   Date: December 8, 2022
16    URIEL SOTO                                         )   Time: 1:30 p.m.
                                                         )   Courtroom: The Honorable William H.
17                       Defendant.                      )   Orrick III, United States District Judge
                                                         )
18                                                       )

19          Comes now the Defendant URIEL SOTO, by and through undersigned Counsel, who
20   respectfully submits this Sentencing Memorandum.
21          The defense has no objections to the Pre Sentence Investigation Report. Further, we agree
22   with Probation’s recommendation of a 3553(a) variance from the Sentencing Guidelines to a
23   sentence of time served with 3 years of Supervised Release along with the requested 9 Conditions
24   of Supervision. We also appreciate the recommendation by the Government for the same sentence
25   of credit for time served.
26          This Honorable Court certainly knows SOTO better than any of us and Counsel is certain
27   that it is beyond pleased with his performance in CAP. That program requires a ton of commitment
28   and true grit to turn a life tormented by substance abuse around.
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 1          SOTO has demonstrated remarkable post offense rehabilitation. He has strong family ties
 2   and obligations, is gainfully employed and enjoys a loving support network as referenced in the
 3   letters provided to probation. He has successfully completed CAP (as well as counseling
 4   requirements while on Pre-Trial Release) and has all the necessary tools to successfully complete
 5   Supervised Release with two years of sobriety under his belt. These 3553(a) factors combined with
 6   his chronic alcohol and substance abuse that was the driving engine of his criminal conduct 19
 7   months ago and his sincere remorse support a variance to credit for time served.
 8          Probation concludes that:
 9                 In looking at the statutory purposes of sentencing, the undersigned officer
                   believes that the focus of sentencing should primarily be on the need to
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                   reflect the seriousness of the offense, and to protect the public from future
11                 crimes. However, in this case, Mr. Soto is close to graduating from the
                   Convictions Alternative Program (CAP), which included treatment,
12                 developing a peer support network, he has maintained employment for over
13                 a year and a half and sobriety for over two years. He has demonstrated that
                   at this point a sentence of incarceration would have no corrective purpose.
14                 Mr. Soto’s work over the last year has demonstrated an extraordinary post-
                   offense rehabilitative effort. Further, it is clear that his history of addiction
15
                   was at the root of his struggles for several decades.
16   PSR, Sentencing Recommendation, Page 2.

17          For all the above reason, Counsel respectfully joins in the Sentencing Recommendation of

18   the Government and Probation and requests a sentence of credit for time served. SOTO is amenable

19   to supervision and enjoys strong community support to help him stay on the golden path ahead.

20   Dated: November 30, 2022                       Respectfully Submitted,

21                                                  LAW OFFICES OF HARRIS B. TABACK
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23
24                                                  By:_______________S__________________
                                                      HARRIS B. TABACK
25                                                    Attorney for Defendant URIEL SOTO
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